      Case 3:21-cr-00800-WQH Document 20 Filed 04/04/22 PageID.185 Page 1 of 1



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 3
 4                             UNITED STATES DISTRICT COURT
 5                           SOUTHERN DISTRICT OF CALIFORNIA
 6
     UNITED STATES OF AMERICA,             ) Case Nos.: 20cr2980-WQH, 20cr3915-
 7                                         ) WQH, 21cr0800-WQH
 8
                Plaintiff,                 )
                                           )
 9         v.                              ) Order continue sentencing hearings
10
                                           )
     ARDALAAN ADAMS,                       )
11                                         )
                                           )
12
                Defendants.                )
13   _____________________________________ )
                                           )
14
           Good cause appearing in the parties’ joint motions (20cr2980 ECF No. 49),
15
     (20cr3915 ECF No. 23), (21cr800 ECF No. 19) are granted and the Court continues
16
17   the sentencing hearings in these matters from May 23, 2022. to December 12, 2022,
18
     at 9:00 a.m.
19
           The Court excludes time under the Speedy Trial Act through December 12,
20
21   2022, because it is considering the plea agreements, and because it finds the ends of
22
     justice served by continuing their sentencings outweigh the best interest of the
23
     public and the defendants in a speedy trial.
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25
     Dated: April 4, 2022
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